






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00746-CR






Armando Perez, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 147TH JUDICIAL DISTRICT

NO. D-1-DC-06-207020, HONORABLE WILFORD FLOWERS, JUDGE PRESIDING




												O R D E R


PER CURIAM

		Appellant has filed a motion for extension of time to file his brief.  We will grant the
extension and ORDER appellant to file his brief no later than July 17, 2009.  No further extensions
will be granted.  If appellant fails to file a brief by the deadline, a hearing before the district court
will be ordered.  See Tex. R. App. P. 38.8(b).

		It is ordered June 5, 2009.



Before Justices Patterson, Pemberton and Waldrop

Do Not Publish


